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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             )
         In re:                                              )
         ALLIED SYSTEMS HOLDINGS, INC. et al.,               )     Chapter 11
                                                             )     Bank. No. 12-11564 (CSS)
                                        Debtors.             )
                                                             )
                                                             )
                                                             )
         YUCAIPA AMERICAN ALLIANCE                           )
         FUND II LP, et al.                                  )     C.A. No. 13-1583-SLR
                                                             )
                                       Appellants,           )
                                                             )
          v.                                                 )     Adv. No. 12-50947 (CSS)
                                                             )
                                                             )
         BDCM OPPORTUNITY FUND II, et al.                    )
                                                             )
                                       Appellees.            )


                            NOTICE OF APPEAL TO UNITED STATES COURT
                               OF APPEALS FOR THE THIRD CIRCUIT

                Yucaipa American Alliance Fund I, L.P. and Yucaipa American Alliance (Parallel) Fund

         I, L.P., along with Yucaipa American Alliance Fund II, L.P and Yucaipa American Alliance

         (Parallel) Fund II, L.P., the appellants in the above-named appeal, appeal to the United States

         Court of Appeals for the Third Circuit from the memorandum opinion and order of the district

         court for the District of Delaware, entered in this case on March 31, 2016 (D.I. 39, D.I. 40),

         affirming the bankruptcy court’s order granting summary judgment to BDCM Opportunity Fund

         II, LP, Black Diamond CLO 2005-1 Ltd., and Spectrum Investment Partners, L.P. in connection

         with a determination of the Requisite Lenders and deeming them Requisite Lenders, entered on

         August 7, 2013 (Adv. No. 12-50947, D.I. 275).



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                The parties to the order appealed from and the names, addresses and telephone numbers

         of their respective attorneys are as follows:

         (Debtors)                                           (U.S. Trustee)
         Mark D. Collins, Esq.                               David L. Buchbinder, Esq.
         Christopher M. Samis, Esq.                          Office of the United States Trustee
         Andrew C. Terranova, Esq.                           844 King Street, Suite 2207
         Richards Layton & Finger, P.A.                      Lockbox #35
         One Rodney Square                                   Wilmington, DE 19899-0035
         920 North King Street                               Telephone: (302) 573-6491
         Wilmington, DE 19801
         Telephone: (302) 651-7700

         (Debtors)                                           (Official Committee of Unsecured
         Jeffrey W. Kelley, Esq.                             Creditors)
         Ezra H. Cohen, Esq.                                 William D. Sullivan, Esq.
         Carolyn P. Richter, Esq.                            William A. Hazeltine, Esq.
         Matthew R. Brooks, Esq.                             Elihu E. Allinson, III, Esq.
         Troutman Sanders LLP                                Sullivan Hazeltine Allinson LLC
         Bank of America Plaza                               901 North Market Street, Suite 1300
         600 Peachtree Street, Suite 5200                    Wilmington, DE 19801
         Atlanta, GA 30308-2216                              Telephone: (302) 428-8191
         Telephone: (404) 885-3000

         (Official Committee of Unsecured                    (Official Committee of Unsecured
         Creditors)                                          Creditors)
         Michael G. Burke, Esq.                              Matthew A. Clemente, Esq.
         Brian J. Lohan, Esq.                                Sidley Austin LLP
         Dennis Kao, Esq.                                    One South Deaborn Street
         Sidley Austin LLP                                   Chicago, IL 60603
         787 Seventh Avenue                                  Telephone: (312) 853-7000
         New York, NY 10019
         Telephone: (212) 839-5300

         (The CIT Group/Business Credit, Inc.)               (The CIT Group/Business Credit, Inc.)
         Richard W. Riley, Esq.                              Israel David, Esq.
         Sommer L. Ross, Esq.                                Gary L. Kaplan, Esq.
         Duane Morris LLP                                    Carl I. Stapen, Esq.
         222 Delaware Avenue, Suite 1600                     Fried, Frank, Harris, Shriver & Jacobson LLP
         Wilmington, DE 19801-1659                           One New York Plaza
         Telephone: (302) 657-4900                           New York, NY 10004
                                                             Telephone: (212) 859-8080


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         (Petitioning Creditors, Del Mar Distressed        (Petitioning Creditors, Del Mar Distressed
         Opportunities Master Fund, MJX Asset              Opportunities Master Fund, MJX Asset
         Management, LLC, Par-Four Investment              Management, LLC, Par-Four Investment
         Management, Spectrum Investment                   Management, Spectrum Investment
         Partners LP, Teak Hill-Credit Capital             Partners LP, Teak Hill-Credit Capital
         Investments, LLC)                                 Investments, LLC)
         Adam G. Landis, Esq.                              Lawrence Gelber, Esq.
         Kerri K. Mumford, Esq.                            Adam C. Harris, Esq.
         Landis Rath & Cobb LLP                            Robert J. Ward, Esq.
         919 Market Street, Suite 1800                     Victoria A. Lepore, Esq.
         Wilmington, DE 19899                              David M. Hillman, Esq.
         Telephone: (302) 467-4400                         Schulte Roth & Zabel LLP
                                                           919 Third Avenue
                                                           New York, NY 10022
                                                           Telephone: (212) 756-2000

         (Yucaipa)                                         (Yucaipa)
                                                           Michael R. Nestor, Esq.
         Robert A. Klyman                                  Edmon L. Morton, Esq.
         Maurice M. Suh                                    Michael S. Neiburg, Esq.
         Kahn Scolnick                                     Young Conaway Stargatt & Taylor, LLP
         Gibson Dunn & Crutcher LLP                        Rodney Square
         333 South Grand Avenue                            1000 North King Street
         Los Angeles, CA 90071                             Wilmington, DE 19801
         Telephone: (213) 229-7000                         Telephone: (302) 571-6600

         AMMC VIII, Limited                                Avenue Capital Group
         c/o MaplesFS Limited                              National Corporation Research, Ltd.
         P.O. Box 1093                                     615 S. Dupont Hwy
         Queensgate House                                  Dover, DE 19901
         113 South Church Street
         Cayman Islands


         Dated: April 29, 2016                        YOUNG CONAWAY STARGATT & TAYLOR,
                                                      LLP

                                                      /s/ Michael R. Nestor
                                                      Michael R. Nestor (No. 3526)
                                                      Edmon L. Morton (No. 3856)
                                                      Michael S. Neiburg (No. 5275)
                                                      Rodney Square
                                                      1000 North King Street
                                                      Wilmington, Delaware 19801
                                                      Telephone: (302) 571-6600
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                                               -and-

                                               GIBSON, DUNN & CRUTCHER LLP
                                               Robert A. Klyman
                                               Maurice M. Suh
                                               Kahn Scolnick
                                               333 South Grand Avenue
                                               Los Angeles, CA 90071
                                               Telephone: (213) 229-7000

                                               Attorneys for Appellants




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